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                            UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF INDIANA

  UNITED STATES OF AMERICA                                Case No. 1:16-cr-199-TWP-DKL-01

                                                          ORDER       ON     MOTION FOR
  v.                                                      SENTENCE REDUCTION UNDER
                                                          18 U.S.C. § 3582(c)(1)(A)
  LANCE KYER                                              (COMPASSIONATE RELEASE)


        Upon motion of ☒ the defendant ☐ the Director of the Bureau of Prisons for a reduction

 in sentence under 18 U.S.C. § 3582(c)(1)(A), and after considering the applicable factors provided

 in 18 U.S.C. § 3553(a) and the applicable policy statements issued by the Sentencing Commission,

 IT IS ORDERED that the motion is:

 ☒ DENIED.

 ☐ DENIED WITHOUT PREJUDICE.

 ☐ OTHER:

 ☐ FACTORS CONSIDERED: See attached opinion.
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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF INDIANA
                                   INDIANAPOLIS DIVISION

 UNITED STATES OF AMERICA,                            )
                                                      )
                               Plaintiff,             )
                                                      )
                          v.                          )     No. 1:16-cr-00199-TWP-DKL
                                                      )
 LANCE KYER,                                          ) -01
                                                      )
                               Defendant.             )


                                              ORDER

        Pending before the Court is Lance Kyer's Motion for Sentence Reduction Pursuant to 18

 U.S.C. § 3582(c)(1)(A) (Compassionate Release). Dkt. 59. Mr. Kyer seeks immediate release from

 incarceration. Id. Because Mr. Kyer has not shown extraordinary and compelling reasons for a

 sentence reduction, his motion is DENIED.

                                                I.
                                            BACKGROUND

        In January 2017, the Court sentenced Mr. Kyer to 192 months' imprisonment in the Bureau

 of Prisons ("BOP") and 20 years of supervised release for one count of attempted coercion or

 enticement of a minor, in violation of 18 U.S.C. § 2422(b), and one count of traveling to engage

 in illicit sexual acts with a minor, in violation of 18 U.S.C. § 2423(b). Dkts. 53, 54. Judgment was

 entered on February 3, 2017. Dkt. 54.

        On August 4, 2020, Mr. Kyer filed a pro se letter that the Court construed as a motion for

 compassionate release under 18 U.S.C. § 3582(c)(1)(A). Dkt. 57. The Court concluded that the

 motion did not, on its face, show that Mr. Kyer was entitled to compassionate release and denied


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 the motion without prejudice. Dkt. 58. The Court informed Mr. Kyer that he could file a renewed

 motion by completing and returning the Court's form compassionate release motion. Id. It also

 noted that many of Mr. Kyer's complaints about the BOP's alleged failure to provide him with

 medical care suggested that he may wish to consider filing an action under Bivens v. Six Unknown

 Named Agents, 403 U.S. 388 (1971), or a claim for injunctive relief. Id. It informed him that any

 such action should be filed in the district where he is confined and sent him a prisoner civil rights

 complaint. Id.

         On September 2, 2020, Mr. Kyer submitted a renewed motion by completing and returning

 the Court's form compassionate release motion. Dkt. 59. That motion is currently pending before

 the Court. 1

                                                     II.
                                               DISCUSSION

         Mr. Kyer is 35 years old. He is now incarcerated at FCI Elkton in Lisbon, Ohio. According

 to the BOP website, Mr. Kyer's release date is September 1, 2029.

         In his renewed motion, Mr. Kyer checked boxes stating that he is seeking release because

 he: (1) has been diagnosed with a terminal illness; (2) has a serious physical or medical condition

 that substantially diminishes his ability to provide self-care within the environment of a

 correctional facility from which he is not expected to recover; and (3) has deteriorating physical

 or mental health because of the aging process that substantially diminishes his ability to provide

 self-care within the environment of a correctional facility from which he is not expected to recover.




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          The Court concludes that it does not require a response brief from the United States to decide the
 issues presented by Mr. Kyer's motion.
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 Dkt. 59 at 2. 2 When asked to list the medical diagnoses underlying his motion, he wrote,

 "Asthma/COPD, hernia mesh, right hand tremor." Id. at 6. When asked to list his prescription

 medications, he wrote, "Albuterol inhaler." Id. at 7. When asked if he requires durable medical

 equipment; requires assistance with self-care such as bathing, walking, or toileting; or requires

 assisted living, he checked, "No." Id. Finally, he provided the following statement in support of

 his motion:

         I've been getting poorly service from the medical staff here @ FCI Elkton. With
         my medical conditions I got (hernia mesh, asthma/COPD, + right hand tremor), the
         medical staff knows because I've told them when I first arrived here, and still hasn't
         done anything about it to fix it. Yes, they prescribed me an inhaler, but it's useless.
         That's the only thing they did since being here. So I'm begging, Your Honor, please
         help me with the proper help by being w/ my family who really needs me.

 Id. at 4.

         18 U.S.C. § 3582(c) provides in relevant part:

         [T]he court, upon motion of the Director of the Bureau of Prisons, or upon motion
         of the defendant after the defendant has fully exhausted all administrative rights to
         appeal a failure of the Bureau of Prisons to bring a motion on the defendant's behalf
         or the lapse of 30 days from the receipt of such a request by the warden of the
         defendant's facility, whichever is earlier, may reduce the term of imprisonment (and
         may impose a term of probation or supervised release with or without conditions
         that does not exceed the unserved portion of the original term of imprisonment),
         after considering the factors set forth in section 3553(a) to the extent that they are
         applicable, if it finds that—

                 (i) extraordinary and compelling reasons warrant such a reduction . . . and
         that such a reduction is consistent with applicable policy statements issued by the
         Sentencing Commission . . . .

 18 U.S.C. § 3582(c)(1)(A).




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        Citations to this document are to the page numbers "stamped" on the document when it was filed
 in CM/ECF.
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        Congress directed the Sentencing Commission to "describe what should be considered

 extraordinary and compelling reasons for sentence reduction, including the criteria to be applied

 and a list of specific examples." 28 U.S.C. § 994(t). It directed that "[r]ehabilitation of the

 defendant alone shall not be considered an extraordinary and compelling reason." Id. In response

 to this directive, the Sentencing Commission promulgated a policy statement regarding

 compassionate release under § 3582(c), contained in United States Sentencing Guidelines

 ("U.S.S.G.") § 1B1.13 and the accompanying Application Notes. While that particular policy

 statement has not yet been updated to reflect that defendants (and not just the BOP) may move for

 compassionate release, 3 courts have universally turned to U.S.S.G. § 1B1.13 to provide guidance

 on the "extraordinary and compelling reasons" that may warrant a sentence reduction. E.g., United

 States v. Casey, 2019 WL 1987311, at *1 (W.D. Va. 2019); United States v. Gutierrez, 2019 WL

 1472320, at *2 (D.N.M. 2019); United States v. Overcash, 2019 WL 1472104, at *2-3 (W.D.N.C.

 2019). There is no reason to believe, moreover, that the identity of the movant (either the defendant

 or the BOP) should have any impact on the factors the Court should consider.

        As provided in § 1B1.13, consistent with the statutory directive in § 3582(c)(1)(A), the

 compassionate release analysis requires several findings. First, the Court must address whether

 "[e]xtraordinary and compelling reasons warrant the reduction" and whether the reduction is

 otherwise "consistent with this policy statement." U.S.S.G. § 1B1.13(1)(A), (3). Second, the Court

 must determine whether Mr. Kyer is "a danger to the safety of any other person or to the



        3
         Until December 21, 2018, only the BOP could bring a motion for sentence reduction under
 § 3582(c)(1)(A). The First Step Act of 2018, which became effective on December 21, 2018, amended
 § 3582(c)(1)(A) to allow defendants to bring such motions directly, after exhausting administrative
 remedies. See 132 Stat. at 5239 (First Step Act § 603(b)).

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 community, as provided in 18 U.S.C. § 3142(g)." U.S.S.G. § 1B1.13(2). Finally, the Court must

 consider the § 3553(a) factors, "to the extent they are applicable." U.S.S.G. § 1B1.13.

         Subsections (A)-(C) of Application Note 1 to § 1B1.13 identify three specific "reasons"

 that qualify as "extraordinary and compelling": (A) terminal illness diagnoses or serious conditions

 from which a defendant is unlikely to recover and which "substantially diminish[]" the defendant's

 capacity for self-care in prison; (B) aging-related health decline where a defendant is over 65 years

 old and has served at least ten years or 75% of his sentence, whichever is less; or (C) certain family

 circumstances (the death or incapacitation of the caregiver of the defendant's minor child or the

 incapacitation of the defendant's spouse or registered partner when the defendant would be the

 only available caregiver for the spouse or registered partner). U.S.S.G. § 1B1.13, Application Note

 1(A)–(C). Subsection (D) adds a catchall provision for "extraordinary and compelling reason[s]

 other than, or in combination with, the reasons described in subdivisions (A) through (C)." Id.,

 Application Note 1(D). 4


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  The policy statement provides that "[a] reduction under this policy statement may be granted only upon
 motion by the Director of the Bureau of Prisons." U.S.S.G. Manual §1B1.13, Application Note 4. Likewise,
 the catchall provision provides, "As determined by the Director of the Bureau of Prisons, there exists in the
 defendant's case an extraordinary and compelling reason other than, or in combination with, the reasons
 described in subdivisions (A) through (C)." Id., Application Note 1(D). This policy statement has not been
 amended since the passage of the First Step Act. Insofar as it states that only the Director of the BOP can
 bring a motion under § 3582(c)(1)(A), it is directly contradicted by the amended statutory text. This
 discrepancy has led some courts to conclude that the Commission does not have a policy position applicable
 to motions under § 3582(c)(1)(A)(i) and that they have discretion to determine what constitutes an
 "extraordinary and compelling reason" on a case-by-case basis, looking to the policy statement as helpful,
 but not dispositive. See, e.g., United States v. Perdigao, No. 07-103, 2020 WL 1672322, at *2 (E.D. La.
 Apr. 2, 2020) (collecting cases); see also United States v. Haynes, No. 93 CF 1043 (RJD), 2020 WL
 1941478, at *14 (E.D.N.Y. Apr. 22, 2020) (collecting cases). Other courts have held that they must follow
 the policy statement as it stands and, thus, that the Director of the BOP is the ultimate arbiter of what counts
 as "extraordinary and compelling" under the catchall provision. See, e.g., United States v. Lynn, No. 89-
 0072-WS, 2019 WL 3805349, at *2–4 (S.D. Ala. Aug. 13, 2019). The Court need not resolve that debate,
 though, because Mr. Kyer's motion is due to be denied even if the Court assumes that the policy statement
 is not binding and that is has the discretion to determine what constitutes an "extraordinary and compelling
 reason" for a sentence reduction.
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        Mr. Kyer does not suggest that Subsections (B) or (C) apply to him. He did, however, check

 boxes suggesting that Subsection (A) applies to him. See dkt. 59 at 2. To qualify under Subsection

 (A), Mr. Kyer must be "suffering from a terminal illness (i.e., a serious and advanced illness with

 an end of life trajectory)," such as metastatic solid-tumor cancer, amyotrophic lateral sclerosis

 (ALS), end-stage organ disease, or advanced dementia. U.S.S.G. § 1B.13, Application Note 1(A).

 Alternatively, Mr. Kyer may qualify under Subsection (A) if he is (1) suffering from a serious

 physical or medical condition or is experiencing deteriorating physical or mental health because

 of the aging process that (2) substantially diminishes his ability to provide self-care within the

 environment of a correctional facility and from which he is not expected to recover. Id.

        Here there is no evidence that Mr. Kyer suffers from a terminal illness as defined by the

 Application Note. While he claims to have been diagnosed with asthma/COPD and to have hernia

 mesh and a hand tremor, he does not suggest that any of those illnesses are serious, advanced, or

 carry an end of life trajectory. Likewise, while Mr. Kyer appears to have been diagnosed with

 some conditions, he does not suggest that he is substantially limited in providing self-care within

 the environment of a correctional facility, as required by Subsection (A). To the contrary, when

 asked if he required assistance with self-care, he checked the box for "No." Dkt. 59 at 7. Thus, Mr.

 Kyer does not qualify for compassionate release under Subsection (A).

        The Court also concludes that the catchall provision in Subsection (D) does not apply.

 While the Court sympathizes with the difficulties Mr. Kyer has experienced in obtaining medical

 care, those difficulties do not represent a reason to release him from his sentence almost 9 years

 early. As the Court explained in its August 7 Order, if Mr. Kyer has complaints about his medical

 care, he may wish to consider filling an action under Bivens v. Six Unknown Named Agents, 403


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 U.S. 388 (1971), or a claim for injunctive relief. Id. Any such action should be filed in the district

 where he is confined. The Court sent him a prisoner civil rights complaint form with his copy of

 the August 7 Order.

        Given the Court's determination that Mr. Kyer has not shown extraordinary and compelling

 reasons to justify his release, it does not need to decide whether he poses a danger to the community

 or whether the § 3553(a) factors weigh in favor of his release.

                                               III.
                                            CONCLUSION

        For the reasons stated above, Mr. Kyer's Motion for Compassionate Release, dkt. [59], is

 denied.

        IT IS SO ORDERED.



        Date: 10/2/2020




 Distribution:

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